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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Eastern District of Michigan
  In re          James Randall Johnson                                                                         Case No.      13-23089
                                                                                                        ,
                                                                                       Debtor
                                                                                                               Chapter                      7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                 LIABILITIES                OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                         0.00


B - Personal Property                                          Yes            3                    8,900.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                                0.00


E - Creditors Holding Unsecured                                Yes            1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            14                                         380,390.00
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            2                                                                    1,761.83
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    1,700.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    27


                                                                        Total Assets               8,900.00


                                                                                         Total Liabilities               380,390.00




                     13-23089-dob                  Doc 8           Filed 12/11/13
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